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United States Attorney
Northern District of California

11" Floor, Federal Building (415)436-7200

450 Golden Gate Ave., Box 36055 AX: (415) 436-
San Francisco, CA 94102-3495 7234

Consent and Agreement to Forfeiture

ae... Claimant”), an j by and through its counsel, David L.
Anderson, United States Attorney, and Assistant U.S. Attorney, do hereby

agree to the following:

l. In the matter of the United States in
Claimant agrees and consents to the forfeiture of the following property (collectively the
“forfeited property”):

a. All cryptocurrency contained within 1HQ3Go3ggs8pFnXuH VHRytPCq5fGG8Hbhx

Zs Potential Claimant acknowledges that the forfeited property is subject to forfeiture in the
above-referenced criminal case which secks forfeiture to the United States pursuant to Title 18,

United States Code Section 981(a)(1)(C).

3. Potential Claimant acknowledges that he has been informed and advised of his right to
retain counsel of his own choosing to represent him and that he enters into this agreement upon
the advice of his own counsel.

4, Pursuant to Title 18, United States Code Section 981(a)(1)(C) Potential Claimant hereby
withdraws any previously filed claim(s) to the forfeited property and further agrees to not contest
the criminal, civil or administrative forfeiture proceedings relating to the forfeited property.
Potential Claimant waives notice of all forfeiture proceedings with respect to the forfeited
property and waives any and all defenses to such proceedings that may be asserted, including,
but not limited to innocent owner, any statute of limitations, and any constitutional defenses.
Potential Claimant agrees that judgment may be entered against the forfeited property.

5. The undersigned understands that, pursuant to Title 18, U.S. Code, Section 983, the
United States is required to send notice in non-judicial civil forfeiture matters. Having been
advised of the rights regarding notice, the undersigned hereby knowingly and voluntarily waives
the right to such notice being sent within the time frames set forth in Title 18, U.S. Code, Section
983, and further waives the right to have the property returned if notice is not sent within the
prescribed time frames.

6. Potential Claimant agrees that the person or persons who made the arrest or the
prosecutor shall not be liable to suit or judgment on account of such seizures. Potential Claimant,
his/her agents or assigns, shall hold and save harmless the United States of America, its apents
and employees, from any and all claims which might result from the forfeiture of the forfeited

property described herein.
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7. This agreement constitutes the entire agreement of the parties and relates solely to the
matters described in this agreement.

8. The parties shall bear their own fees and costs.

DATED: November 3, 2020

DATED: November 3, 2020

Potential Claimant

DATED: November 3, 2020

